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                                                                 U.S. DISTRICT COURT
                                                            :NORTHERN DISTRICT OF TEXAS
                  IN THE UNITED STATES DIS$:~fj~Lt:A'(~JRq~IL~E~D~---,
                       NORTHERN DISTRICT OF
                           FORT WORTH DIVISI           JAN-6

ROOF TECHNICAL SERVICES, INC.,             §
ET AL.,                                    §
                                                                       Deputy
                                           §
             Plaintiffs,                   §
                                           §
VS.                                        §     NO. 4:09-CV-586-A
                                           §
KENNETH C. HILL, ET AL.,                   §
                                           §
             Defendants.                   §

                             MEMORANDUM OPINION
                                     and
                                    ORDER

      After having considered the motion of defendants, Kenneth C.

Hill, individually and d/b/a Hill Law Firm, and Hill & Hunn, LLP

(collectively,    "Hill"), to dismiss this action for lack of

subject matter jurisdiction, the response of plaintiffs, Roof

Technical Services, Inc.       ("RTS") and Stephen L. Patterson

("Patterson"), thereto, and pertinent legal authorities, the

court concludes that the motion should be granted and that this

action should be dismissed.

                                           1.

                    Factual & Procedural Background

      Plaintiffs alleged the following facts in their original
complaint:

      Patterson invented a "roof venting technique" that relieves

upward pressure exerted on a roof by wind blowing across the

roof's surface.        Compl. at 3,    ~    8.    RTS is the owner, by

assignment, of the rights and title to Patterson's roofing
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system.    In March 2003, plaintiffs retained defendant Kenneth C.

Hill, then with Hill & Hunn, LLP, and later with the Hill Law

Firm, to secure patent protection for Patterson's roofing system.

In the course of applying for a patent on Patterson's roofing

system with the United States Patent and Trademark Office (the

~PTO"),   Hill made several errors.      He (1) submitted a patent

application that did not conform to applicable regulations;               (2)

failed to timely correct deficiencies in the application, causing

it to be abandoned;     (3) failed to timely file a petition to

revive the abandoned application;        (4) failed to inform plaintiffs

that the application was deficient when filed,            that it was

abandoned, or that he failed to revive it;            (5) ignored

plaintiffs' requests for information regarding the status of the

application;   (6) gave plaintiffs incorrect and incomplete

information regarding the status of the application; and (7)

failed to cooperate with plaintiffs in explaining to the PTO why

the delay in prosecuting the patent was unintentional.                By the

time plaintiffs retained new counsel, the ultimate deadline by

which the application could be revived had lapsed.              As a result,

plaintiffs are unable to obtain federal patent protection for

Patterson's roofing system.

     Based on the allegations above, plaintiffs filed suit

against defendants in this court, alleging legal malpractice,

professional negligence, negligent misrepresentation, and breach

of fiduciary duty-all state-law causes of action.              Because there

is no diversity of citizenship between the parties, the issue is

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whether this action               ~arises      under" federal patent law for the

purpose of establishing federal jurisdiction.

                                                   II.

          Applicable Principles of Subject Matter Jurisdiction

        Pursuant to 28 U.S.C.                §§   1331 and 1338(a), federal courts

have jurisdiction over civil actions                          ~arising under"            federal law

and specifically over actions                      ~arising under"           any federal law

relating to patents.                 Two types of actions                ~arise     under" federal

law: those in which the plaintiff pleads a cause of action

created by federal law,                 see, e.g., Am. Well Works Co. v. Layne &

Bowler Co., 241 U.S. 257, 260 (1916)                           (Holmes, J.), and those in

which the plaintiff pleads a state-law cause of action that

implicates significant federal issues,                            see Grable & Sons Metal

Prods., Inc. v. Darue Eng'g & Mfg., 545 U.S. 308, 312                                       (2005).

See also Smith v. Kan. City Title & Trust Co., 255 U.S. 180, 199
(1921).1

        In Grable, however, the Supreme Court made clear that even

when there is a significant federal issue embedded in a state-law

cause of action,             ~the    exercise of federal jurisdiction is subject

to a possible veto."                 545 U.S. at 313.              It emphasized that

determining whether a state-law cause of action                                  ~arises      under"

federal law requires an assessment of the detrimental effect of


         1 Although all of the cases cited in this section of the court's memorandum opinion and order
construe the phrase "arising under" as it appears in § 1331, the general federal question jurisdiction
statute, the Supreme Court has stated that it applies that same test to determine whether an action arises
under § 1338(a), the patent jurisdiction statute, as under § 1331. Holmes Group, Inc. v. Vomado Air
Circulation Sys., Inc., 535 U.S. 826, 829-30 (2002); Christianson v. Colt Indus. Operating Corp., 486
U.S. 800, 808-09 (1988).

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exercising jurisdiction on federalism, and that a federal court

should decline to exercise jurisdiction where doing so would be

inconsistent with "congressional judgment about the sound

division of labor between state and federal courts."                    Id.     Thus,

the Grable Court narrowed the second category of actions that

"arise under" federal law to include only those state-law actions

that "necessarily raise a stated federal issue, actually disputed

and substantial, which a federal forum may entertain without

disturbing any congressionally approved balance of federal and

state judicial responsibilities."           Id. at 314; accord Singh v.

Duane Morris LLP, 538 F.3d 334, 338 (5th Cir. 2008).

     In determining whether an action meets this test, the court

follows the well-pleaded complaint rule.               Franchise Tax. Ed. v.

Constr. Laborers Vacation Trust, 463 U.S. 1, 9-10 (1983); Hoskins

v. Eekins Van Lines, 343 F.3d 769, 772           (5th Cir. 2003).             That is,

the court determines whether an action "arises under" federal law

solely from what appears on the face of a plaintiff's complaint,

without reference to any anticipated defenses or counterclaims.

Louisville & Nashville R.R. Co. v. Mottley, 211 U.S. 149, 152
(1908) .

                                     III.

                                Analysis

     As previously stated, plaintiffs' well-pleaded complaint

asserts legal malpractice, professional negligence, negligent

misrepresentation, and breach of fiduciary duty.                Plaintiffs

concede that all of these causes of action are created by state

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law.    They argue, however, that this action "arises under"

federal law because their claims raise substantial issues of

federal patent law.

       To support their argument, plaintiffs rely heavily on Air

Measurement Technologies, Inc. v. Akin Gump Strauss Hauer & Feld,

L.L.P., 504 F.3d 1262 (Fed. Cir. 2007) and Immunocept, LLC v.

Fulbright & Jaworski, LLP, 504 F.3d 1281 (Fed. Cir. 2007), two

cases in which the United States Court of Appeals for the Federal

Circuit found "arising under" jurisdiction over state-law legal

malpractice claims stemming from patent prosecution and patent

litigation.     In Air Measurement, the plaintiffs sued their

attorneys, alleging that the attorneys' failure to adequately

prosecute their patents forced them to settle several patent

infringement lawsuits for below fair market value.              See 504 F.3d

at 1266.    Applying Texas law, the court found that to determine

if the attorneys' negligence proximately caused the plaintiffs'

alleged damages, a court would have to determine whether the

plaintiffs would have prevailed in the underlying infringement

lawsuits.     See id. at 1268-69.     Because such a determination

would require an analysis of whether the plaintiffs' patents had

been infringed, the court found that patent infringement was a

necessary element of the plaintiffs' well-pleaded malpractice

claim, and, therefore, that the action raised a substantial

patent law issue.      See id. at 1269.     Similarly, in Immunocept,

the plaintiffs alleged that their attorneys' drafting error

reduced the scope of their patent, thereby allowing their

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competitors to copy the unprotected technology.             See 504 F.3d at

1283-85.    The Federal Circuit found that to determine proximate

cause, a court would have to analyze the scope of the plaintiffs'

patent and that patent scope was a substantial patent law issue.
See id. at 1285.

     Plaintiffs analogize their situation to those in Air

Measurement and Immunocept by noting that to prevail on their

claims, they may have to prove that "but for" defendants'

negligence, they would have acquired a patent.             See Swinehart v.

Stubbeman, McRae, Sealy, Laughlin & Browder, Inc., 48 S.W.2d 865,

874 (Tex. App.-Houston [14th Dist.J 2001, pet. denied)               ("To prove

a cause of action for legal malpractice, the plaintiff must

establish that he would have prevailed on the underlying causes

of action and would have been entitled to a judgment but for his

attorney's negligence.").      This, in turn, will require the

reviewing court to analyze whether Patterson's invention was

patentable under the patent laws, which plaintiffs assert is a

substantial patent law issue.        Plaintiffs also argue that their

malpractice claim raises substantial patent law issues because

the standard of care against which defendants' conduct will be

measured is determined in part by reference to patent regulations

and guidelines.    Finally, plaintiffs argue that determination of

damages also raises substantial patent law issues because the

court will have to determine the value of the lost patent.




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        The court finds plaintiffs' arguments unpersuasive. 2

Although plaintiffs' claims may raise patent law issues, those

issues are not "actually disputed and substantial."                                   Moreover,

exercising federal jurisdiction over actions like this one would

disturb the balance of federal and state judicial

responsibilities by sweeping an entire category of traditionally

state cases into federal court.

        Substantial issues are those that "indicat[e] a serious

federal interest in claiming the advantages thought to be

inherent in a federal forum."                      Grable, 545 u.S. at 313.                  In

Grable, the plaintiff brought a state-law quiet title action

claiming that the defendant's record title was invalid because

the IRS, in seizing the plaintiff's property to satisfy a federal

tax delinquency, failed to notify the plaintiff of the seizure in

the manner required by a federal tax statute.                                See id. at 310-11.

The only disputed issue in the case was the type of notice

required by the statute.                   See id. at 311.            The Supreme Court

recognized a federal interest in adjudicating the matter in

federal court because "the meaning of a federal tax provision is

an important issue of federal law" and because "[t]he Government

has a strong interest in the 'prompt and certain collection of

delinquent taxes. '" Id. at 315.                       The Court later explained that



         2 It is unclear whether decisions of the Federal Circuit determining the scope of federal
jurisdiction in patent-related matters are binding on this court. See Warrior Sports, Inc. v. Dickinson
Wright, PLLC, 632 F. Supp. 2d 694, 698 n.4 (E.D. Mich. 2009). However, because the court concludes
that this case is factually distinguishable from Air Measurement and Immunocept, the court does not
address the question.

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the issue in Grable warranted a federal forum because it was "a

nearly pure issue of law."       Empire HealthChoice Assurance, Inc.

v. McVeigh, 547 U.S. 677, 700 (2006)          (internal quotation marks

omitted).    The Court in Empire HealthChoice also emphasized that

the issue in Grable was both dispositive of the case and would be

controlling in numerous other tax sale cases.             See id.

     Keeping in mind the factors found important in Grable and

Empire HealthChoice, nothing indicates a serious federal interest

in adjudicating this action in federal court.             The federal issues

identified by the plaintiffs are not important issues of law.

The court will not, for example, have to determine the meaning of

federal patent law.      Moreover, because the potential federal

issues require only application of federal law to the specific

facts of this case, the resolution of those issues will not be

controlling in numerous other cases.           As the Court recognized in

Grable, it has rejected the notion that "mere need to apply

federal law in a state-law claim will suffice to open the

'arising under' door."      545 U.S. at 313; see Empire HealthChoice,

547 U.S. at 700-01 (distinguishing facts before it from those in

Grable by noting that plaintiff's claim was "fact-bound and

situation-specific"); Singh, 538 F.3d at 339 (finding embedded

federal issues insubstantial where "the federal issue [was]

predominantly one of fact");         see also Adventure Outdoors, Inc. v.

Bloomberg, 552 F.3d 1290, 1299-1300 (11th Cir. 2008)              (finding

embedded federal issues insubstantial where adjudication required

only application of law to facts).

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        Finally, there is no interest at stake in this case that is

comparable to the government's interest in the "prompt and

certain collection of delinquent taxes" in Grable.             To be sure,

there is a federal interest in the uniform application of patent

laws, but that interest is not implicated here, where no patent

rights are actually at stake.        No patent has issued for

Patterson's invention and none will issue.            Thus, even if the

court must decide patent law issues, those decisions will not

create or destroy any patent rights such that uniformity in the

way patents are issued or enforced will be threatened.                 In other

words, the determinations that might occur in this action do not

"justify resort to the experience, solicitude, and hope of

uniformity that a federal forum offers on federal issues."

Grable, 545 U.s. at 312; see also Warrior Sports, Inc. v.

Dickinson Wright, PLLC, 632 F. Supp. 2d 694, 699-700 (E.D. Mich.

2009)    (finding that federal issues were not substantial in legal

malpractice action stemming from patent attorney's failure to pay

maintenance fee or timely reinstate plaintiff's patent).

        Not only are the potential federal issues insubstantial, but

allowing this action to proceed in federal court would disturb

the balance of federal and state judicial responsibilities.

Unlike in Grable, it will not be "the rare [legal malpractice]

case that raises a contested matter of federal law."                 545 U.S. at

315.     All legal malpractice plaintiffs proceeding on a negligence

theory must show that, absent their attorney's negligence, they

would have won the underlying litigation, consummated the deal,

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or acquired the patent.        Thus, every legal malpractice action in

which the attorney commits the alleged malpractice while handling

a federal matter will raise a federal issue.               Extending federal

jurisdiction to all such actions would therefore sweep an entire

category of cases, traditionally the domain of state courts, into

federal court.     After Grable, that result is untenable.                See id.

at 319   (~A   general rule of exercising federal jurisdiction over

state claims resting on federal mislabeling and other statutory

violations would thus have heralded a potentially enormous shift

of traditionally state cases into federal court.").

      In Singh, the Fifth Circuit reached the same conclusions

with respect to a legal malpractice claim stemming from trademark

litigation.      See 538 F.3d at 338-40.       In that case, the court

held that the plaintiff's action did not               ~arise   under" federal

law even though to prevail, the plaintiff would have had to prove

that his trademark had acquired secondary meaning.                   See id.    The

court reasoned that the trademark issue was not substantial and

that exercising jurisdiction would, for the reason discussed

above, disrupt the balance between federal-state judicial

responsibilities.       See id.   In doing so, it expressly declined to

follow or extend Air Measurement, saying,               ~the    court [in Air

Measurement]           . did not consider the reasons addressed here,

involving the federal interest and the effect on federalism."

Id. at 340.     The Singh court limited its holding to legal

malpractice actions stemming from trademark litigation, but its



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reasoning is equally applicable to the facts of this case.                 See
id. at 340.

      ~[D]eterminations about federal jurisdiction," particularly

those concerning the exercise of federal jurisdiction over state-

law claims,    ~require sensitive judgments about congressional

intent,   judicial power, and the federal system."             Merrell Dow

Pharms. Inc. v. Thompson, 478 u.S. 804, 810 (1986).               Boiled down,

this action is about defendants' failure to meet deadlines and

communicate with their clients.          Patent issues are merely

floating on the periphery.       Thus, this action does not belong in
federal court.

                                      IV.

                                     Order
      Therefore,

     For the reasons discussed above,

     The court ORDERS that defendants' motion to dismiss be, and

is hereby, granted, and that all claims and causes of action

asserted in the above-captioned action by plaintiffs against

defendants be, and are hereby, dismissed for lack of subject
matter jurisdiction.

     SIGNED January 6, 2010.
